









Dismissed and Opinion filed December 12, 2002









Dismissed and Opinion filed December 12, 2002.

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  &nbsp;
  
  
 




In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO.
14-02-00789-CV

____________

&nbsp;

THE
CITY OF HOUSTON, Appellant

&nbsp;

V.

&nbsp;

METRO
NATIONAL CORPORATION, Appellee

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&nbsp;

On Appeal from the County Civil Court at Law No. 2

Harris
County, Texas

Trial Court Cause No. 763,617

&nbsp;



&nbsp;

M
E M O R A N D U M&nbsp;&nbsp; O P I N I O N

This is an appeal from a judgment
signed July 16, 2002.&nbsp; 

On December 6, 2002, appellant filed a motion to dismiss the
appeal because it is now moot.&nbsp; See Tex. R. App. P. 42.1(a)(2).&nbsp; The motion is
granted.

Accordingly, the appeal is ordered dismissed.&nbsp; 

PER CURIAM

Judgment rendered and Opinion
filed December 12, 2002.

Panel consists of Justices Yates,
Anderson, and Frost. 

Do Not Publish C Tex. R. App. P. 47.3(b).

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